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                                        May 21, 2018

Via ECF

Hon. Richard J. Sullivan, USDJ
United States District Court, SDNY
40 Foley Square, Courtroom: 905
New York, NY 10007
Tel: 212-805-0264

                       Re: Igor Agaronov v. KDG Contracting Corp
                           Case No. 18-CV-00129 (RJS)(DCF)
                           Status Report
Dear Judge Sullivan:

        My firm represents plaintiff in the above-referenced action, and I respectfully write to
provide a status report as per the Court’s April 19, 2018 order. The parties have held telephone
conferences with Magistrate-Judge Freeman during which settlement was discussed. Given the
progress made, I believe that an additional two weeks would be helpful in trying to resolve the
case – if the case is not settled, we will submit the required revised case management plan -
subject to Your Honor’s approval.

       We thank the Court in advance for its time and consideration.

Respectfully submitted,

Abdul Hassan Law Group, PLLC

_/s/ Abdul Hassan____________
By: Abdul K. Hassan, Esq. (AH6510)
Counsel for Plaintiff

cc:    Defense Counsel via ECF
